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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
 In re:
                                                                   Case No. 17-75190 (REG)
 CELIA SAVAGE,
                                                                   Chapter 7
                                     Debtor.
 -------------------------------------------------------------X

                         STIPULATION AND ORDER
            ABANDONING THE TRUSTEE’S INTEREST IN REAL PROPERTY

          WHEREAS, on August 25, 2017, (the “Petition Date”), Celia Savage (the “Debtor”), the

above-referenced debtor, filed a voluntary petition (the “Petition”) for relief under chapter 7 of

title 11 of the United States Code (the “Bankruptcy Code”);

          WHEREAS, the Debtor’s Petition states that: (a) Debtor is the fee simple owner of, and

resides at, the real property located at, and known as, 686 Park Avenue, Huntington, New York

11743 (the “Real Property”); the (b) Real Property has a fair market value of $535,000 (the “Fair

Market Value”); (c) the Real Property is encumbered by (i) a first mortgage in the amount of

$494,895 held by Selene Finance (“Selene”); and (ii) a second mortgage in the amount of $42,000

(the “Second Mortgage Balance”) held by Citibank, N.A (“Citibank”, and together with Selene,

the “Mortgage Holders”) and (d) the Debtor claimed a homestead exemption in the Real Property

pursuant to Bankruptcy Code §522(d)(1) in the amount of $11,837.50 (the “Homestead

Exemption”).

          WHEREAS, Allan B. Mendelsohn, Esq. (the “Trustee”) was appointed interim chapter 7

trustee, has since duly qualified, and is now the permanent trustee of the Debtor’s estate;

          WHEREAS, on November 21, 2017, the Trustee filed a notice of discovery of assets of

unrelated to the Real Property, and the Court fixed the last day to file claims against the Debtor’s

estate;
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       WHEREAS, on February 20, 2018, Selene filed a proof of claim, assigned claim number

1, in the secured amount of $515,980.70 (the “First Mortgage Balance”), reflecting the balance of

the first mortgage on the Real Property;

       WHEREAS, the Debtor now wishes to pursue a short sale (the “Sale”) of the Real

Property;

       WHEREAS, the collective amounts of the First Mortgage Balance and Second Mortgage

Balance exceed the Fair Market Value of the Real Property;

       WHEREAS, the Real Property is of inconsequential value or benefit to the Debtor’s estate

and creditors;

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and

between the parties, as follows:

       1.        The Trustee’s right, title, and interest in the Real Property is hereby abandoned

pursuant to Bankruptcy Code §554 so that the Debtor may pursue the Sale of the Real Property.

       2.        To the extent the Debtor receives a carve-out from the Mortgage Holders which

exceeds the Debtor’s Homestead Exemption, Debtor shall turnover such excess to the Trustee as

property of the estate under Bankruptcy Code §541.

       3.        The parties consent to the entry of this Stipulation as an Order in this proceeding,

and respectfully requests that this Court enter this Stipulation as an Order.

       4.        This Stipulation may be signed in counterparts and a facsimile signature shall be

accepted as an original.

       5.        The parties executing this Stipulation represent that they have the necessary

authority to execute this document and bind their respective clients to the terms and conditions

thereof.
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      6.     This Stipulation shall be of no force or effect unless it is approved by the

Bankruptcy Court.

Dated: March 5, 2018
       Islandia, New York                      MACCO & STERN, LLP
                                               Attorneys for the Debtor

                                        By:    /s/ Cooper J Macco____
                                               Cooper J Macco
                                               2950 Express Drive South, Suite 109
                                               Islandia, New York 11749
                                               (631) 549-7900


Dated: March 2, 2018
       Huntington, New York                    ALLAN B. MENDELSOHN, LLP
                                               Attorneys for the Trustee

                                        By:    /s/ Allan B. Mendelsohn, LLP___
                                               Allan B. Mendelsohn
                                               38 New Street
                                               Huntington, NY 11743
                                               (631) 923-1625
SO ORDERED:




                                                        ____________________________
 Dated: Central Islip, New York                              Robert E. Grossman
        April 17, 2018                                  United States Bankruptcy Judge
